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                                ATTORNEYS EYES ONLY

   1                            UNITED STATES DISTRICT COURT
   2                             SOUTHERN DISTRICT OF FLORIDA
   3        APPLE INC.
   4               Plaintiff,           CASE NO. 9:19-cv-81160-RS
   5        vs.
   6        CORELLIUM, LLC,
   7                Defendant.
   8        ___________________________________/
   9
 10                              Zoom, Virtual Deposition
 11                           Wednesday, March 25, 2020
 12                              10:08 a.m.-6:17 p.m.
 13
 14                               ATTORNEY'S EYES ONLY
 15           VIDEOTAPED 30(b)(6) AND INDIVIDUAL DEPOSITION OF
 16                                    AMANDA GORTON
 17
 18                   Taken on Behalf of the Plaintiff before
 19               Lisa Gerlach, Court Reporter, Notary Public
 20               in and for the State of Florida at Large,
 21               pursuant to Plaintiff's Notice of Taking
 22               Deposition in the above cause.
 23
 24       Job No. 4027360
 25       Pages 1-213

                                                                    Page 1

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                                ATTORNEYS EYES ONLY

   1

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   4              Q.   Sure.

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   9              A.   That is correct.

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   1                   THE VIDEOGRAPHER:          We are back on the

   2              record at 3:14 p.m.          This marks the beginning

   3              of media number seven in the deposition of

   4              Amanda Gorton.

   5                   You may proceed, Counsel.

   6        BY MS. BINA:

   7              Q.   Thank you.

   8

   9

  10

  11                   MR. VINE:     Objection.         Do you mean

  12              through the use of the Apple Corellium

  13              product or the CORSEC?

  14                   MS. BINA:

  15        BY MS. BINA:

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   1                   (Attorney Gabe Gross is now attending by

   2              telephone.)

   3        BY MS. BINA:

   4              Q.   But nothing that you impose on them?

   5              A.   Correct.

   6

   7

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  14              Q.   I understand.       In any event,

  15                        is your testimony?

  16              A.   I think --

  17                   MR. VINE:     Objection.

  18              A.   I think that might be a slight

  19        oversimplification.

  20                   I believe my colleague, Gabe Gross of

  21              Latham & Watkins, is now in our virtual room.

  22              I just want to announce him.

  23                   Mr. Vine, did you say something?

  24                   MR. VINE:     I said, I don't see him.

  25                   MR. GROSS:      I'm on by audio.       I don't

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                                ATTORNEYS EYES ONLY

   1              have the bandwidth or the internet

   2              connectivity to participate by video.              I'll

   3              just be on a short amount of time.             I'll make

   4              it clear on the record when I leave.

   5                   MR. VINE:     Thank you, Gabe.         No worries.

   6        BY MS. BINA:

   7              Q.   Ms. Gorton, let me just try to be clear with

   8        my question.     My question was,

   9

  10

  11                   MR. VINE:     Objection.

  12              A.

  13

  14

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  17        BY MS. BINA:

  18              Q.

  19                   MR. VINE:     Objection.

  20              A.     .

  21        BY MS. BINA:

  22              Q.

  23

  24                   MR. VINE:     Objection.         The better

  25              question is, do you know?             But, by all means,

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